

Matter of Dominick L. (Amber S.) (2020 NY Slip Op 01740)





Matter of Dominick L. (Amber S.)


2020 NY Slip Op 01740


Decided on March 13, 2020


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 13, 2020
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CENTRA, J.P., PERADOTTO, LINDLEY, NEMOYER, AND BANNISTER, JJ.


53 CAF 17-01250

[*1]IN THE MATTER OF DOMINICK L. ERIE COUNTY DEPARTMENT OF SOCIAL SERVICES, PETITIONER-RESPONDENT; AMBER S., RESPONDENT-APPELLANT. (APPEAL NO. 2.)






DAVID J. PAJAK, ALDEN, FOR RESPONDENT-APPELLANT.
NICHOLAS G. LOCICERO, BUFFALO, FOR PETITIONER-RESPONDENT.
DAVID C. SCHOPP, THE LEGAL AID BUREAU OF BUFFALO, INC., BUFFALO (JANE I. YOON OF COUNSEL), ATTORNEY FOR THE CHILD.


	Appeal from an order of the Family Court, Erie County (Sharon M. LoVallo, J.), entered June 15, 2017 in a proceeding pursuant to Family Court Act article 10. The order determined that respondent had abused the subject child. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Same memorandum as in Matter of Aaren F. (Amber S.) ([appeal No. 1] — AD3d — [Mar. 13, 2020] [4th Dept 2020]).
Entered: March 13, 2020
Mark W. Bennett
Clerk of the Court








